   Case: 1:10-cv-07435 Document #: 279 Filed: 03/21/14 Page 1 of 2 PageID #:7288



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHARLES KRIK,                                )
                                             )
                      Plaintiff,             )
                                             )         Case No. 10-cv-7435
               v.                            )
                                             )         Judge John Z. Lee
CRANE CO.; EXXONMOBIL OIL                    )
CORPORATION; OWENS-ILLINOIS,                 )
INC.; and THE MARLEY-WYLAIN                  )
COMPANY,                                     )
                                             )
                      Defendants.            )

                                            ORDER

        Defendants have filed the following Daubert motions in this case: (1) Crane Company’s
Motion to Exclude the “Each and Every Exposure Opinion” (dkt. 62); (2) Crane Company’s
Motion to Preclude the Testimony of Dr. Barry Castleman (dkt. 63); Owens-Illinois’ Motion to
Exclude Barry Castleman (dkt. 64); Owens-Illinois’ Motion to Bar the Longo/MAS Experiments
and Related Testimony (dkt. 65); Owens-Illinois’ Motion to Bar the “Any Exposure” Opinion
(dkt. 66); BP America’s Motion to Bar Expert Opinions of Dr. Arthur Frank and Frank Parker
(dkt. 67); Marley-Wylain’s Motion to Exclude Plaintiff’s Experts From Testifying Regarding the
“Single Fiber” Theory (dkt. 71); and ExxonMobil Oil’s Motion to Bar Testimony of Arthur
Frank and Frank Parker (dkt. 76).

         After further consideration of the voluminous motions and related materials, the Court
concludes that oral argument with respect to these motions would aid the Court in resolving
these multiple motions. Accordingly, the Court schedules oral argument on 4/8/14 commencing
at 2:00 p.m. The Defendants should coordinate with one another to minimize any duplicative
arguments. The Court also will discuss issues related to the proposed pre-trial order and related
submissions at that time. In light of the foregoing, the pre-trial conference dates of 4/10/14,
4/17/14, and 4/18/14, and the trial date of 4/28/14, are hereby stricken. Given that the trial date
is stricken, Plaintiff’s motion to take deposition of industrial hygiene expert Frank Parker (dkt.
276) is denied without prejudice at this time. The Daubert motions (dkt. 62, 63, 64, 65, 66, 67,
71, 76) are hereby taken under advisement pending oral argument.

       An agenda for the 4/8/14 hearing is attached.

Dated: March 21, 2014                        /s/ John Z. Lee
                                             U.S. District Court Judge
   Case: 1:10-cv-07435 Document #: 279 Filed: 03/21/14 Page 2 of 2 PageID #:7289



                                         Agenda

                                      April 8, 2014

Crane Company’s Motion Re: “Each and Every Exposure Opinion” (dkt. 62)
Owens-Illinois’ Motion Re: “Any Exposure” Opinion (dkt. 66)
BP America’s Motion Re: Dr. Arthur Frank and Frank Parker (dkt. 67)
Marley-Wylain’s Motion Re: “Single Fiber” Theory (dkt. 71) &
ExxonMobil Oil’s Motion Re: Arthur Frank and Frank Parker (dkt. 76):

Defendants’ (collective) argument        30 minutes
Plaintiff’s argument                     30 minutes
Defendants’ rebuttal                     5 minutes


Crane Company’s Motion Re: Castleman (dkt. 63) &
Owens-Illinois’ Motion Re: Castleman (dkt. 64):

Defendants’ (collective) argument        15 minutes
Plaintiff’s argument                     15 minutes
Defendants’ rebuttal                     5 minutes


Owens-Illinois’ Motion Re: Longo/MAS Experiments (dkt. 65):

Defendants’ (collective) argument        15 minutes
Plaintiff’s argument                     15 minutes
Defendants’ rebuttal                     5 minutes
